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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     FT. LAUDERDALE DIVISION

                                 CASE NO.: 0:18-CV-61721-BLOOM/Valle

 SCOTT ROSSO, individually and on behalf of
 all others similarly situated,

                    Plaintiff,

 v.

 CHEETAH MOBILE AMERICA, INC., a
 California Liability Company,

             Defendant.
 _____________________________________/

                DEFENDANT CHEETAH MOBILE AMERICA, INC.’S MOTION
                  TO DISMISS COMPLAINT OR, IN THE ALTERNATIVE,
                      MOTION FOR MORE DEFINITE STATEMENT




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          Defendant, Cheetah Mobile America, Inc. (“Defendant”), by and through undersigned
  counsel and pursuant to Fed. R. Civ. P. 8(a)(2), 12(b)(1), 12(b)(2) and 12(b)(6), hereby moves to
  dismiss the Class Action Complaint (the “Complaint”) (D.E. 1) filed by Plaintiff Scott Rosso
  (“Plaintiff” or Rosso”), with prejudice. In the alternative to dismissal, Defendant moves for a
  more definite statement pursuant to Fed. R. Civ. P. 12(e).
                                             INTRODUCTION
          The crux of this putative class action is Plaintiff’s complaint about receiving one text
  message string promoting a security program app. The text message string was allegedly sent to
  Plaintiff’s cellular phone, not his home, and Plaintiff does not allege that the text message cost
  him a penny. Plaintiff further does not allege, nor could he, that his cellular phone was rendered
  inoperable for any amount of time or that he was prevented from receiving other text messages
  or phone calls during the moment (literally no more than a second) in time when the text
  message string was being transmitted. Yet, Plaintiff now invokes that one innocuous text
  message (and nothing else) in an attempt to recover a massive cash payout under the Telephone
  Consumer Protection Act, 47 U.S.C. §227, et seq. (“TCPA”). It is readily apparent that Plaintiff
  is not actually seeking to vindicate a privacy interest at all and that his privacy was not, in fact,
  invaded by receiving one text message. Instead, he seeks an unwarranted statutory damages
  windfall in a purported class action based on a single text message that did not inflict a concrete
  injury on him or anyone else.
          Yet, Spokeo, Inc. v. Robins, --- U.S. ----, 136 S.Ct. 1540 (2016) confirms, as the Supreme
  Court has repeatedly held, that an alleged statutory violation without a showing of a concrete
  injury does not satisfy the Article III requirements for standing. There is nothing concrete or
  injurious about the nebulous “invasion of privacy” and “annoyance” that Plaintiff posits in his
  Complaint in a cursory fashion – a de minimis one-text inconvenience that could never support a
  legally cognizable tort claim under the circumstances. The lack of a concrete injury-in-fact
  arising from the alleged one text message string warrants dismissal of this action, with prejudice,
  for lack of subject matter jurisdiction.
          Moreover, even if Plaintiff has standing (he does not), sworn declaration testimony
  submitted in support of this Motion demonstrates that this Court lacks personal jurisdiction over
  Defendant, and furthermore that Plaintiff has sued the wrong entity, as Defendant does not
  conduct substantial business activity in Florida, did not send the text message at issue (or any

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  other similar text messages) in Florida, and is not otherwise involved in the conduct alleged in
  the Complaint. Additionally, the ambiguously worded Complaint should be dismissed because
  Plaintiff fails to state a claim upon which relief may be granted and even fails to provide notice
  of the claims asserted against Defendant. In the alternative to dismissal (or summary judgment
  should the Court elect to treat this Motion as a summary judgment motion as permitted by Fed.
  R. Civ. P. 12(d)), Defendant seeks a more definite statement because Defendant cannot
  adequately prepare a response to the Complaint as it now stands.
                         PERTINENT ALLEGATIONS OF COMPLAINT
          Plaintiff alleges that, on or about August 11, 2017, Defendant sent unsolicited
  telemarketing “text messages” to Plaintiff’s cellular telephone number “selling Plaintiff a
  security program,” and “advertis[ing] Defendant’s application ‘Securitymaster,’ which
  Defendant sends to promote its business.” (Compl. ¶¶23-26). However, the Complaint includes
  in paragraph 23 an image of two continuous, simultaneous text messages allegedly received by
  Plaintiff at the same time, which for all intents and purposes, constitute one uninterrupted text
  message string with two parts. (Id. at ¶23). Based exclusively on that single text message string
  depicted in the Complaint, Plaintiff alleges violations of the TCPA. The only alleged injuries are
  “invasion of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and
  conversion,” along with “inconvenience,” “harassment” and “disruption to his daily life.” (Id. at
  ¶¶4, 35). Further, Plaintiff alleges that “Defendant provides and markets its services within this
  district thereby establishing sufficient contacts to subject it to personal jurisdiction,” and
  “Defendant’s tortious conduct against Plaintiff occurred within the State of Florida” as
  “Defendant has sent the same text messages complained of by Plaintiff to other individuals
  within this judicial district, such that some of Defendant’s acts in making such calls have
  occurred within this district, subjecting Defendant to jurisdiction in the State of Florida.” (Id. at
  ¶¶6, 8, 27). Finally, Plaintiff alleges that, “upon information and belief” only, the “[t]he text
  messages originated from telephone number 273-67, a number which upon information and
  belief is owned and operated by Defendant.” (Id. at ¶31).
          Although the three-Count Complaint includes general allegations that, in some situations,
  the Federal Communications Commission (“FCC”) recognizes that automated or prerecorded
  telephone calls “can be costly and inconvenient” and “wireless customers are charged for
  incoming calls whether they pay in advance or after the minutes are used” (id. at ¶ 12 (citations

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  omitted)), Plaintiff makes no allegation that the text message string he purportedly received from
  Defendant actually cost him any money. Plaintiff nevertheless demands, on behalf of himself
  and the other members of an expansive proposed class, “[a]n award of actual and statutory
  damages” of a “minimum of $500.00” for each violation, and up “$1,500.00 in [trebled] statutory
  damages, for each and every [willful and knowing] violation” alleged in Counts I, II and III. (Id.
  at ¶¶54, 58, 59, 66, 67 & page 14 (“WHEREFORE” clause) at c). Plaintiff also seeks
  declaratory and injunctive relief. (Id. at ¶54 & page 14 (“WHEREFORE” clause) at a, b).
          Counts I and II allege violation(s) of 47 U.S.C. §227(b)(1)(A)(iii) of the TCPA on behalf
  of Plaintiff and the putative class, while Count III alleges violation(s) of 47 U.S.C. §227(c)(5) of
  the TCPA on behalf of Plaintiff and the “Do Not Call Registry Class.” With respect to Counts I
  and II, Plaintiff alleges that “Defendant – or third parties directed by Defendant – used
  equipment having the capacity to dial numbers without human intervention to make non-
  emergency telephone calls to the cellular telephones of Plaintiff and the other members” of the
  putative class. (Id. at ¶50). With respect to Count III, Plaintiff alleges that “Defendant …
  initiat[ed], or caus[ed] to be initiated, telephone solicitations to telephone subscribers such as
  Plaintiff and the Do Not Call Registry Class members who registered their respective telephone
  numbers on the National Do Not Call Registry, a listing of persons who do not wish to receive
  telephone solicitations that is maintained by the federal government.” (Id. at ¶65). In Count III,
  Plaintiff also alleges that “Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do
  Not Call Registry Class received more than one telephone call in a 12-month period made by or
  on behalf of Defendant in violation of 47 C.F.R. § 64.1200.” (Id. at ¶¶64, 66).
                                     MEMORANDUM OF LAW
    I.    The Complaint Should Be Dismissed With Prejudice Under Rule 12(b)(1) Because
          Plaintiff Lacks Standing to Pursue this Action.

          Plaintiff only alleges an “invasion of privacy” through the receipt of a single, one-time
  text message string on his cellular phone as his sole injury. (Compl. ¶¶4, 23, 35). For purposes
  of Plaintiff’s claimed invasion of privacy, aggravation, annoyance, etc., the Complaint alleges
  only one “injury.” This alleged injury does not constitute the requisite “injury-in- fact” that is
  constitutionally required to confer Article III standing.
          Not only are Rosso’s bare, unadorned assertions of harm inadequate to even state a


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  claim, 1 they fall far short of the clear factual allegations necessary to meet a plaintiff’s burden to
  demonstrate standing. As explained by the Supreme Court in FW/PBS, Inc. v. City of Dallas,
  493 U.S. 215 (1990) (cited in Spokeo), in finding that the plaintiffs lacked standing to pursue
  claims:
       It is a long-settled principle that standing cannot be “inferred argumentatively from
       averments in the pleadings,” but rather “must affirmatively appear in the record.” …
       And it is the burden of the “party who seeks the exercise of jurisdiction in his favor,”
       … “clearly to allege facts demonstrating that he is a proper party to invoke judicial
       resolution of the dispute.” Thus, petitioners in this case must “allege ... facts essential
       to show jurisdiction. If [they] fai[l] to make the necessary allegations, [they have] no
       standing.”

  Id. at 231(citations omitted). While the imperceptible “invasion of privacy” or “annoyance”
  referenced without explication in the Complaint may be “particularized” injuries (i.e.,
  particular to Plaintiff), they are not “concrete” or “demonstrable” injuries that have been
  clearly alleged. See Warth v. Seldin, 422 U.S. 490, 508 (1975) (“[a]bsent the necessary
  allegations of demonstrable, particularized injury, there can be no confidence of ‘a real need
  to exercise the power of judicial review’”) (citation omitted).
            As outlined chronologically below with reference to case law from the 11th Circuit,
  this District and other jurisdictions, while faxes that tie up fax machines and prevent receipt
  of other faxes have been held to constitute an injury-in-fact, text messages have not, and the
  11th Circuit is now poised to imminently address the precise question presented here –
  namely, whether the receipt of one text message allegedly in violation of the TCPA is
  sufficient to constitute a concrete injury-in-fact to confer Article III standing.
            A.     Pre-Spokeo legal landscape in 11th Circuit: Palm Beach Golf
            In Palm Beach Golf Center-Boca, Inc. v. John G. Sarris, D.D.S., P.A., 781 F.3d 1245,
  1252 (11th Cir. 2015), a pre-Spokeo decision of the 11th Circuit that found standing under a
  different provision of the TCPA, the 11th Circuit found a concrete and particularized injury
  through a fax machine being occupied by transmission of a “junk fax,” which temporarily
  rendered it “unavailable for legitimate business messages.” Palm Beach Golf found standing in
  that case not because the defendant committed a substantive violation of the TCPA, but because

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           See Mamani v. Berzain, 654 F.3d 1148, 1153 (11th Cir. 2011) (“[l]egal conclusions without adequate
  factual support are entitled to no assumption of truth,” and a complaint “must plead ‘more than an unadorned, the-
  defendant-unlawfully- harmed-me accusation’”) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)).

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  the plaintiff “has suffered a concrete and personalized injury in the form of the occupation of its
  fax machine for the period of time required for the electronic transmission of the data.” Id. at
  1251. Nowhere in the Palm Beach Golf decision did the 11th Circuit accept that a statutory
  violation alone is sufficient to confer standing.
          In this case, unlike the fax machine in Palm Beach Golf, Plaintiff’s cellular phone was
  not rendered unavailable by receiving the alleged text message string, nor does Plaintiff allege
  that he paid for the text (i.e., paid more than he otherwise would have paid for his unlimited
  cellular phone plan had he not received the text string), and there is thus no concrete injury of
  any sort alleged, or that can be alleged. To be clear, there were no alleged financial costs
  whatsoever allegedly suffered by Plaintiff as a result of receiving one text message string, nor
  was Plaintiff’s cellular phone unable to function or receive other messages or calls for even a
  moment as a result of the text message string.
          B.       Spokeo
          Spokeo reaffirmed the 11th Circuit’s longstanding approach on standing adopted in Palm
  Beach Golf. In Spokeo, the Supreme Court was confronted with an action brought under the Fair
  Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA”). The Court explained that, at the
  pleading stage, to have standing under Article III, the burden is on a plaintiff to clearly allege
  facts demonstrating that he has “(1) suffered an injury in fact, (2) that is fairly traceable to the
  challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial
  decision.” Spokeo, 136 S.Ct. at 1547. “To establish injury in fact, a plaintiff must show that he
  or she suffered ‘an invasion of a legally protected interest’ that is ‘concrete and particularized’
  and ‘actual or imminent, not conjectural or hypothetical.’” Id. at 1548 (quoting Lujan v.
  Defenders of Wildlife, 504 U.S. 555, 560 (1992)).
          The central issue in Spokeo – and the one that is fatal to Plaintiff here – is the requirement
  of a “concrete” injury, as distinct from a “particularized” injury. The injury alleged in the
  Complaint is the quintessential intangible, inconcrete injury – invasion of privacy. Spokeo
  undeniably and firmly rejects that a statutory violation itself is sufficient for standing, holding
  that a plaintiff does not satisfy “the injury-in-fact requirement whenever a statute grants a
  person a statutory right and purports to authorize that person to sue to vindicate that
  right” since “Article III standing requires a concrete injury even in the context of a statutory
  violation.” 136 S.Ct. at 1549 (emphasis added). That is because a statutory violation “may

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  result in no harm.” Id. at 1550; see also Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009)
  (“deprivation of a procedural right without some concrete interest that is affected by the
  deprivation … is insufficient to create Article III standing”). 2
           C.       Post-Spokeo 11th Circuit decisions: Nicklaw I, Nicklaw II and Florence
                    Endocrine

           In Nicklaw v. Citimortgage, Inc., 839 F.3d 998 (11th Cir. 2016) (“Nicklaw I”), decided
  five months after Spokeo, the 11th Circuit found that there was no standing resulting from the
  violation of a statutory requirement to timely record a satisfaction of mortgage. Although the
  plaintiff urged that he suffered intangible harm because the legislature had created a substantive
  right that had been violated and that right has deep roots in common law (id. at 1002), the 11th
  Circuit recognized that “the relevant inquiry is whether [the plaintiff] was harmed when this
  statutory right was violated,” because “not all statutory violations ‘cause harm or present any
  material risk of harm.’” Id. at 1002-03 (quoting Spokeo, 136 S.Ct. at 1550).
           Finding “neither a harm nor a material risk of harm” where there were no allegations of
  financial loss or credit damage, dismissal for lack of standing was affirmed, with the 11th Circuit
  concluding that “the requirement of concreteness under Article III is not satisfied every time a
  statute creates a legal obligation and grants a private right of action for its violation.” Id. at
  1003. With nine of the ten members of the Court agreeing, rehearing en banc of Nicklaw I was
  denied. Nicklaw v. Citimortgage, Inc., 855 F.3d 1265 (11th Cir. 2017) (“Nicklaw II”). In
  conjunction with that denial, Judges William Pryor and Stanley Marcus (panel members in
  Nicklaw I) separately explained that “[t]he panel opinion adhered to the requirement of a
  concrete injury under Article III, as explicated in Spokeo,” holding that “Nicklaw’s complaint
  failed to allege that he suffered a concrete injury when the New York statutes were violated and
  that he failed to allege a risk of any future harm.” Id. at 1268. Significantly, Nicklaw II cited to
  Palm Beach Golf, 781 F.3d 1245, the aforementioned 11th Circuit TCPA decision, for the
  proposition that “the violation of a legal right alone does not satisfy the concrete injury

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            Spokeo discusses standing as it relates to procedural violations of statutes rather than substantive violations,
  but that is because Spokeo was dealing with an alleged procedural statutory violation in that case, not a substantive
  violation. However, the Supreme Court’s broad recognition of the constitutional requirement for “a concrete injury
  even in the context of a statutory violation,” speaks directly to all statutory violations – both those of a substantive
  nature and those of a procedural nature. Spokeo, 136 S.Ct. at 1549 (emphasis added). This result is inescapable
  because Spokeo reiterates that “[i]njury in fact is a constitutional requirement, and ‘[i]t is settled that Congress
  cannot erase Article III’s standing requirements by statutorily granting the right to sue to a plaintiff who would not
  otherwise have standing.’” Id. at 1547-48 (quoting Raines v. Byrd, 521 U.S. 811, 820 n. 3 (1997)).
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  requirement.” Id. Palm Beach Golf was described as “explaining, in the context of the
  Telephone Consumer Protection Act, that ‘where a statute confers new legal rights on a person,
  that person will have Article III standing to sue where the facts establish a concrete,
  particularized, and personal injury to that person as a result of the violation of the newly
  created legal rights.’” Id. (emphasis added) (citation omitted).
           Most recently, in Florence Endocrine Clinic, PLLC v. Arriva Medical, LLC, 858 F.3d
  1362 (11th Cir. 2017), another case involving the TCPA’s provisions regarding junk faxes, the
  11th Circuit reiterated that, to have Article III standing, a plaintiff must have suffered an injury-
  in-fact, recognizing that “[w]here a statute confers new legal rights on a person, that person will
  have Article III standing to sue where the facts establish a concrete, particularized, and
  personal injury to that person as a result of the violation of the newly created legal rights.” Id.
  at 1366 (quoting Palm Beach Golf (emphasis added)). The 11th Circuit concluded that the
  TCPA creates a cognizable right, but nevertheless that a concrete injury existed on the facts of
  that case – not just because of the alleged statutory violation – but “because the plaintiff’s fax
  machine is occupied while the unsolicited fax is being sent and the plaintiff must shoulder the
  cost of printing the unsolicited fax.” Id. Specifically, the 11th Circuit held: “Because the
  clinic’s fax machine was occupied and rendered unavailable for legitimate business while
  processing the unsolicited fax, 3 the clinic established that it suffered a concrete injury.” Id.
           Significantly, the findings of standing under the TCPA in Palm Beach Golf and Florence
  Endocrine were not premised on an invasion of privacy or waste of time resulting from the
  receipt of proscribed junk faxes, instead hinging on the tangible injury of the plaintiffs’ fax
  machines being rendered temporarily unavailable. Rosso allegedly received one free-of-cost text
  message string on his cellular phone which did not prevent the device for even a second from
  receiving phone calls or other text messages. Unlike the plaintiffs in Palm Beach Golf and
  Florence Endocrine, then, who received unsolicited faxes that actually created concrete injuries
  by inflicting financial costs upon them and rendering their fax machines inaccessible to other
  faxes during the times of transmission, Rosso suffered no comparable concrete injury as a result
  of the one text message string allegedly sent to him by Defendant. Mobile devices receive
  multiple text messages simultaneously and normal call and other functions are not interrupted by

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           The plaintiff in Florence Endocrine did not receive just one fax in alleged violation of the TCPA, but four
  in the space of one month. 858 F.3d at 1365.

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  the receipt of a text message. Rosso makes no allegation to the contrary. This is not a case
  where it is alleged that Rosso was bombarded with text messages or that he had more than an
  instant of annoyance from receiving the subject text message string. Therefore, adherence to the
  law of the 11th Circuit in Palm Beach Golf and Florence Endocrine compels the conclusion that
  Plaintiff’s alleged violation of the TCPA consisting of a single unsolicited text alone is
  insufficient to establish standing, and Rosso must further demonstrate a legally cognizable
  concrete injury-in-fact to survive dismissal.
           This is because, for there to be a concrete injury resulting from an alleged violation of the
  TCPA, the 11th Circuit’s TCPA standing precedents – Palm Beach Golf and Florence Endocrine
  – look for the injury to be demonstrated through clear allegations of a plaintiff’s device being
  “occupied and rendered unavailable for legitimate business.” Palm Beach Golf, 781 F.3d at
  1252; Florence Endocrine, 858 F.3d at 1366. Rosso does not, and cannot, allege that his mobile
  device was “occupied and rendered unavailable for legitimate business while processing” the
  subject text message string. Florence Endocrine, 858 F.3d at 1366. Rosso’s dilemma is that he
  does not and cannot contend that when a cellular phone receives transmission of a text message,
  it cannot simultaneously receive or send other text messages or calls, unlike the fax machines at
  issue in Palm Beach Golf and Florence Endocrine, which would ring busy while receiving a fax
  transmission. This is a crucial distinction between the concrete injury found in those cases and
  the one that is absent here.
           D.       Recent Southern District of Florida precedent
           In this District, one court was “unwilling to extend Palm Beach Golf’s analysis, which
  focused on the tangible injury of the occupation of the plaintiff’s fax machine under a completely
  different statutory scheme, to govern the intangible injury that Zia alleges here pursuant to two
  New York state statutes, merely because both cases involve the alleged violation of a statutorily
  created right.” Zia v. CitiMortgage, Inc., No. 15-cv-23026-GAYLES, 2016 WL 5369316, *6
  (S.D. Fla. Sept. 26, 2016) (Gayles, J.). 4 Thus, neither the 11th Circuit in Palm Beach Golf, nor
  the Southern District of Florida court in Zia, accepted that a substantive statutory violation alone
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           The Zia court applied the teachings of Spokeo. There, the court granted a motion to dismiss a putative class
  action seeking statutory damages under New York statutes. Zia, 2016 WL 5369316 at *1. The plaintiff in Zia sought
  statutory damages for a statutory violation of timing requirements for recording satisfactions of mortgage. The court
  found that such allegations did not constitute a concrete injury in fact. The plaintiff “has identified no tangible or
  intangible harm that he suffered, other than the fact that the delay in recording occurred; and he has identified no
  ‘material risk of harm’ from the delay, simply the delay itself.” Id. at *4 (citation omitted).

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  is sufficient to confer standing. See Zia, 2016 WL 5369316 at *5 (“the deprivation of a right
  created by statute must be accompanied by some concrete interest that is affected by the
  deprivation; a holding that the statutory violation is alone sufficient to establish standing would
  impermissibly conflate the concepts of statutory and constitutional standing”) (internal quotation
  marks omitted) (quoting Spokeo, 136 S.Ct. at 1549; Lee v. Verizon Commc’n, Inc., 837 F.3d 523,
  529-30 (5th Cir. 2016)).
           E.       Out-of-district authorities
           The most comprehensive analysis of this standing issue is found outside this district in
  Romero v. Dep’t Stores Nat’l Bank, No.: 15-CV-193-CAB-MDD, 2016 WL 4184099 (S.D. Cal.
  Aug. 5, 2016). The Romero court granted a motion to dismiss for lack of standing on the part of
  a plaintiff in a TCPA claim arising out of allegedly proscribed creditor calls to her cellular
  phone. Romero concluded that the allegations of invasion of privacy in that case were
  insufficient to confer standing:
       Plaintiff argues that she suffered the exact harm that Congress wanted to eliminate with
       the TCPA, which Plaintiff argues consists of “unwanted calls to Plaintiff’s cell phone
       and violation of privacy.” This argument relates to the “particular” component, not the
       “concrete” component, of an injury in fact and ignores Spokeo’s holding that a statutory
       violation alone does not eliminate the requirement that a plaintiff establish a concrete
       injury caused by that statutory violation. Spokeo, 136 S.Ct. at 1549. That Defendants
       called Plaintiff’s cell phone may satisfy the “particular” component, but it does not
       automatically satisfy the requirement that the injury be “concrete.”… [E]ven for the
       calls Plaintiff heard ring or actually answered, Plaintiff does not offer any evidence of a
       concrete injury caused by the use of an ATDS [“automated telephone dialing system”],
       as opposed to a manually dialed call. Accordingly, Plaintiff has not and cannot
       demonstrate that any of Defendants’ over 290 alleged violations of the TCPA,
       considered in isolation, actually caused her a concrete harm.

  Id. at *3.

           If the “invasion of privacy” engendered by the autodialing of 290 calls to an individual’s
  cellular phone does not, as a matter of law, convey standing, then the one text message string
  allegedly sent to Plaintiff falls far short of the mark. 5 As explained in Romero:

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            Notably, Plaintiff could not, as a matter of law, pursue a Florida common law claim for invasion of privacy
  based on the receipt of one text message string. See, e.g., Oppenheim v. I.C. Sys., Inc., 695 F. Supp.2d 1303, 1309-
  10 (M.D. Fla. 2010) (applying Florida law) (rejecting invasion of privacy claim arising from 35 to 40 debt collection
  calls over a three-month period because the calls, although “annoying and bothersome …[,] did not rise to the
  requisite level of outrageous and unacceptable conduct contemplated by the tort of invasion of privacy,” which
  requires that the invasion “must be highly offensive to a reasonable person” and “so outrageous in character, and so
  extreme in degree, as to go beyond all possible bounds of decency”), aff’d, 627 F.3d 833 (11th Cir. 2010).
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       No reasonable juror could find that one unanswered telephone call could cause lost
       time, aggravation, distress, or any injury sufficient to establish standing. When
       someone owns a cell phone and leaves the ringer on, they necessarily expect the phone
       to ring occasionally. Viewing each call in isolation, whether the phone rings as a result
       of a call from a family member, a call from an employer, a manually dialed call from a
       creditor, or an ATDS dialed call from a creditor, any “lost time, aggravation, and
       distress,” are the same. Thus, Defendants’ TCPA violation (namely, use of an ATDS to
       call Plaintiff) could not have caused Plaintiff a concrete injury with respect to any (and
       each) of the calls that she did not answer. 6

  Id. at *4.
           The citation in Plaintiff’s Complaint to a Congressional finding that autodialed calls are
  an invasion of privacy (see Compl. at ¶12) rings similar to an argument made in Romero and
  rejected by that court. Romero, 2016 WL 4184099 at *5 (“Congress’s finding that the
  proliferation of unwanted calls from telemarketers causes harm does not mean that the receipt of
  one telephone call that was dialed using an ATDS results in concrete harm. In other words,
  regardless of Congress’s reasons for enacting the TCPA, one singular call, viewed in isolation
  and without consideration of the purpose of the call, does not cause any injury that is traceable to
  the conduct for which the TCPA created a private right of action, namely the use of an ATDS to
  call a cell phone.”).
           There was one single text here; any "invasion" was thus de minimis and doesn't satisfy
  Article III. One out-of-district illustrative decision in this regard, which rejected on a motion to
  dismiss invasion of privacy as a basis for standing to bring a FCRA claim (as in Spokeo), is
  Shoots v. iQor Holdings US Inc., No. 15–cv–563 (SRN/SER), 2016 WL 6090723 (D. Minn. Oct.
  18, 2016). In Shoots, the invasion of privacy engendered by the alleged violation of one
  provision of the FCRA that was “divorced from any concrete harm” was deemed “too small to
  implicate – on a standing level – the interests protected by the larger statutory framework.” Id.
  at *4, 5 (citing Spokeo, 136 S. Ct. at 1549, 1550).
           Yet another decision stressing the inadequacy of a single TCPA statutory violation to
  create a concrete injury sufficient to meet the constitutional requirements for standing is Smith v.
  Aitima Med. Equip., Inc., No. ED CV 16-00339-AB (DTBx), 2016 WL 4618780 (C.D. Cal. July
  29, 2016). Smith, a case that is factually on all fours with this case, dismissed with prejudice a

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            Romero also found that the plaintiff “lacks standing to make a claim for any violation attributable to the
  calls she actually answered.” 2016 WL 4184099 at *5.

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  TCPA putative class action lawsuit arising from one telemarketing phone call allegedly made
  in violation of the statute that was claimed to cause injury consisting of “telephone and electrical
  charges, the aggravation, nuisance, and invasion of privacy that necessarily accompanies the
  receipt of unsolicited and harassing telephone calls.” Id. at *1. The Smith court rejected the
  plaintiff’s position, which is akin to Plaintiff’s position here, reasoning as follows:
       [T]he receipt of one phone call, as alleged by Plaintiff, is comparable to the receipt of a
       text message and any drainage of battery from a single call is surely minimal…. [¶] At
       most, the phone call lasted for a few seconds. Any depletion of Plaintiff’s battery, or
       aggravation and nuisance, resulting from only one call, is a de minimis injury. The
       Court finds that “[t]he injury is too de minimis to satisfy the standing doctrine’s core
       aim of improving judicial decision-making by ensuring that there is a specific
       controversy before the court and that there is an advocate with sufficient personal
       concern to effectively litigate the matter.” Caldwell v. Caldwell, 545 F.3d 1126, 1134
       (9th Cir. 2008). Plaintiff’s de minimis injury is not sufficient to confer standing. Nor
       can Plaintiff amend the Complaint to allege more than a de minimis injury given the
       fact that she received only one call.

  Id. at *4. See also Ewing v. SQM US, Inc., No. 3:16-CV-1609-CAB-JLB, 2016 WL 5846494, at
  *1-3 (S.D. Cal. Sept. 29, 2016) (same trial court adopted the Romero reasoning, dismissing
  TCPA claim of plaintiff who allegedly received an unwanted cellular telephone call from the
  defendants’ ATDS).
          In contrast to the foregoing precedent, the Complaint relies on the older 9th Circuit
  decision in Van Patten v. Vertical Fitness Grp., No. 14-55980, 2017 U.S. App. LEXIS 1591, at
  *12 (9th Cir. Jan. 30, 2017), to contend that “‘[u]nsolicited telemarketing phone calls or text
  messages, by their nature, invade the privacy and disturb the solitude of their recipients’” and
  “‘[a] plaintiff alleging a violation under the TCPA ‘need not allege any additional harm beyond
  the one Congress has identified.’’” (Compl. ¶22 (citing Van Patten, 2017 U.S. App. LEXIS
  1591, at *12) (quotation omitted) (emphasis in original))). In relying on Van Patten, which
  suggests that a substantive statutory violation – without more – is sufficient to create standing
  under Spokeo, Plaintiff ignores the recent reasoning and holdings of the 11th Circuit in the two
  Nicklaw decisions and in Florence Endocrine (which required allegations of a concrete injury
  beyond a substantive violation of the TCPA to establish standing). Indeed, Spokeo holds that
  “Article III standing requires a concrete injury even in the context of a statutory violation” (136
  S.Ct. at 1549), and the 11th Circuit has applied Spokeo in holding that “the requirement of
  concreteness under Article III is not satisfied every time a statute creates a legal obligation and

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  grants a private right of action for its violation.” Nicklaw I, 839 F.3d at 1003. See also Nicklaw
  II, 855 F.3d at 1268 (“the violation of a legal right alone does not satisfy the concrete injury
  requirement”) (citing Palm Beach Golf, 781 F.3d at 1251). As for Palm Beach Golf and
  Florence Endocrine, those decisions focus on the tangible injury of rendering the device
  unavailable, which is not presented by a single text message. For those reasons, Van Patten is
  inconsistent with and/or distinguishable from binding 11th Circuit authority and should not be
  followed by this Court.
          Van Patten is also misguided to the extent that court concludes that the invasion of
  privacy caused by unsolicited telemarketing calls is a common law tort, and one that Congress
  identified as a legally cognizable harm in every instance. Van Patten, 2017 U.S. App. LEXIS
  1591, at *12. As discussed in footnote 5 above, a federal court applying Florida law found no
  actionable invasion of privacy claim even with 40 debt collection calls over a three-month period
  because the calls, although “annoying and bothersome …[,] did not rise to the requisite level of
  outrageous and unacceptable conduct contemplated by the tort of invasion of privacy.”
  Oppenheim, 695 F. Supp.2d at 1309-10. As for Congressional intent to prevent invasion of
  privacy through the TCPA, Spokeo holds that a statutory violation alone does not eliminate the
  requirement that a plaintiff establish a concrete injury caused by that statutory violation. Spokeo,
  136 S. Ct. at 1549. Again, the one text message string allegedly received by Plaintiff here did
  not, without more, cause a concrete injury as a matter of law.
          In sum, the authorities discussed herein demonstrate that the standing requirements
  cannot be met by the gravamen of Plaintiff’s complaint – the allegation of a single unsolicited
  text message string that purportedly advertised a security program app. Plaintiff proposes that an
  (at most) unidentifiable, intangible and fleeting inconvenience presented by receiving just one
  allegedly unauthorized text message string is a concrete injury that inflicts actual harm sufficient
  to pass constitutional muster. Applying the foregoing authorities, Plaintiff has not alleged, and
  cannot allege, an injury-in-fact from receipt of a single text message (regardless of whether it
  was a “telemarketing” text message, when the text message was sent, who it was sent by or on
  whose behalf it was sent), and thus has no standing to pursue this lawsuit. This action should be
  dismissed with prejudice under Rule 12(b)(1), as happened in Romero, Smith and Ewing.
          F.       Pending Salcedo appeal
          Currently pending before the 11th Circuit is Salcedo v. Hanna, No. 17-14077. The issue

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  of first impression before the 11th Circuit in that case is precisely the standing issue raised
  herein: whether the receipt of one text message allegedly in violation of the TCPA is sufficient
  to constitute a concrete injury-in-fact to confer Article III standing under Spokeo and Nicklaw.
  The harm alleged by Salcedo is primarily invasion of privacy and annoyance based on a single
  text message, which Hanna contends is not sufficient to constitute the concrete injury-in-fact
  required by Spokeo. Thus, like Rosso here, Salcedo similarly alleges only invasion of privacy-
  type torts and annoyance and a one-text “injury.” Moreover, like Salcedo, Rosso does not allege
  any financial harm, or that he was unable to use his phone while receiving the text. Attached
  hereto as Composite Exhibit 1 is the appellate briefing and docket sheet in Salcedo, which
  indicates that briefing is complete and oral argument is scheduled for October 2. A decision
  should issue in Salcedo before the end of the year. 7 Given that identical and dispositive standing
  issues have been presented to, and will shortly be argued to and decided by, the 11th Circuit,
  Defendant will be separately moving to stay this action until the 11th Circuit issues its decision
  in Salcedo. 8
      II.   The Complaint Should Be Dismissed With Prejudice Under Rule 12(b)(2) Because
            the Court Lacks Personal Jurisdiction Over Defendant.

            As set forth in the Declaration of Joshua Ong, attached hereto as Exhibit 2, Defendant
  Cheetah Mobile America, Inc. is an Delaware corporation with its principal place of business in
  Palo Alto, California and (1) has no office, (2) owns no real property, (3) pays no taxes, and (4)
  is not registered to do business, Florida. (Ong Decl. (Exh. 2), D.E. 18-2 at ¶¶6-8). Further,
  Defendant did not:
            (1)     “send,” “initiate” or “make” any unsolicited telemarketing text messages or calls

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           The median time interval in the 11th Circuit between oral argument and the final order in civil appeals,
  according to Judicial Business Reports published by the Administrative Office of the United States Courts, was 1.9
  months in 2017, 1.8 months in 2016, and 2.1 months in 2015. See
  http://www.uscourts.gov/sites/default/files/data_tables/B04ASep15.pdf
  http://www.uscourts.gov/sites/default/files/data_tables/jb_b4a_0930.2016.pdf
  http://www.uscourts.gov/sites/default/files/data_tables/jb_b4a_0930.2017.pdf
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            See Fridman v. Collection LLC, No. 18-CV-20348-UU, 2018 WL 2254570, at *1–2 (S.D. Fla. Mar. 27,
  2018) (Ungaro, J.) (staying similar one-text TCPA action pending resolution of appeal in Salcedo because
  “[r]esolution of that appeal will determine whether Plaintiff here has standing to pu[r]sue his claim”). As Judge
  Darrin Gayles of this Court noted when he certified the standing issues in Salcedo for interlocutory appeal to the
  11th Circuit, “the issue of standing in this case involves an unsettled and controlling question of law,” and
  “[r]esolving this issue will materially advance the termination of this litigation and potentially eliminate the need for
  protracted and expensive litigation over one text message.” Salcedo v. Hanna, Case No. 16-cv-62480-GAYLES,
  slip op. at D.E. 42, p. 2 (S.D. Fla. Jun. 14, 2017), attached hereto as Exhibit 3.
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  to Plaintiff’s cellular telephone number advertising the “Securitymaster” program/application
  using equipment having the capacity to dial numbers without human intervention to make non-
  emergency telephone calls to the cellular phones of Plaintiff or other individuals in Florida or
  residing in this judicial district (including persons on the National Do Not Call Registry) (id. at
  ¶10(1));
          (2)      knowingly or willingly “cause” or “direct” text messages to be sent on its behalf
  by third parties to Plaintiff or other individuals in Florida or residing within this judicial district
  (including persons on the National Do Not Call Registry) (id. at ¶10(2));
          (3)      generate, compile, review, or approve the phone numbers or recipients to which
  the text messages referenced in the Complaint were sent at any time, either before or after they
  were sent (id. at ¶10(3));
          (4)      own and/or operate the telephone number 273-67 from which the subject text
  messages were allegedly sent (id. at ¶10(4)); or
          (4)      otherwise have any involvement whatsoever in the matters alleged in the
  Complaint (id. at ¶10(5)).
          Thus, Defendant has rebutted each of Plaintiff’s general and specific personal jurisdiction
  allegations set forth in paragraphs 6 and 8 of the Complaint. Defendant does not engage in
  “substantial and not isolated activity within [Florida],” Fla. Stat. §48.193(2), nor did Defendant
  commit a tortious act in Florida, Fla. Stat. §48.193(1). Because Plaintiff has not met his burden
  to satisfy compliance with the Florida long-arm statute, this Court should conclude it has no
  personal jurisdiction over Defendant and should dismiss the case with prejudice against
  Defendant on this basis under Rule 12(b)(2). See S.A.S.B. Corp. v. Concordia Pharm., Inc., No.
  16-14108-CIV, 2017 WL 7796305, *3 (S.D. Fla. Dec. 4, 2017) (Marra, J.); Mey v. Enter. Fin.
  Grp., Inc., No. 215CV463FTM99MRM, 2016 WL 7338411, at *5–6 (M.D. Fla. Dec. 19, 2016);
  Rutherford v. Zoom Tan, Inc., No. 2:12-CV-509-FTM-29, 2013 WL 4001343, at *3–4 (M.D. Fla.
  Aug. 5, 2013).
  III.    The Complaint Should Be Dismissed With Prejudice Under Rule 12(b)(6) Because
          the Only Named Defendant is Not a Proper Party.

          The Complaint should also be dismissed because Plaintiff sued the wrong entity. See
  Warter v. Boston Secs., S.A., No. 03-81026-CIV-RYSKAMP/VITUNAC, 2004 WL 691787, *13
  (S.D. Fla. Mar. 22, 2004) (Ryskamp, J.) (granting defendant’s Rule 12(b)(6) motion to dismiss

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  based on supporting affidavit where plaintiffs sued the wrong entity). In the alternative, if,
  pursuant to Fed. R. Civ. P. 12(d), this Court elects to treat this Motion filed pursuant to Fed. R.
  Civ. P. 12(b)(6) as a summary judgment motion, entry of summary judgment in favor of
  Defendant is appropriate. Abreu v. Alutiiq-mele, LLC, No. 11-20888-CIV, 2011 WL 13113718,
  *2–3 (S.D. Fla. Nov. 8, 2011) (Seitz, J.) (granting motion for summary judgment and dismissing
  case where undisputed affidavit evidence established that plaintiff sued the wrong entity); see
  also Nelson v. Int'l Paint Co., 734 F.2d 1084, 1094 (5th Cir. 1984) (“summary judgment is often
  appropriate when the plaintiff has named the wrong party as the defendant”) (citing 10A Wright,
  Miller & Kane, Federal Practice and Procedure, § 2729, at 200)).
          The Declaration of Joshua Ong evidences that Defendant Cheetah Mobile America, Inc.
  is an improper defendant as it had no involvement in any of the conduct alleged in the
  Complaint. (Ong Decl. (Exh. 2), D.E. 18-2 at ¶10). None of the matters or causes of action
  raised in the Complaint, then, are properly directed to Defendant. What is more, as discussed
  further below with respect to Plaintiff’s failure to state a claim, there is no basis in the allegations
  of the Complaint or in the record evidence for disregarding the completely separate legal
  corporate existence of Defendant, nor is there any basis for holding Defendant vicariously liable
  for conduct of third parties. See infra Part IV.C. Thus, dismissal of the Complaint as to
  Defendant with prejudice is also warranted under Rule 12(b)(6) on the grounds that it is not a
  proper defendant.
  IV.     The Complaint Should Be Dismissed Under Rules 8(a)(2) and 12(b)(6) For Failure
          to State a Claim.

          Should the Court conclude that it lacks subject matter jurisdiction or personal
  jurisdiction, or that Defendant is an improper defendant, there is no need to proceed further. The
  standing, personal jurisdiction, and improper defendant issues are all case-dispositive, but
  regardless, the Complaint should still be dismissed for failure to state a claim upon which relief
  can be granted.
          A.       Legal standards for failure to state a claim
          A pleading in a civil action must contain “a short and plain statement of the claim
  showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To satisfy the Rule 8
  pleading requirements, a complaint must provide the defendant fair notice of what the plaintiff’s
  claim is and the grounds upon which it rests. Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512,

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  (2002). While a complaint “does not need detailed factual allegations,” it must provide “more
  than labels and conclusions” or “a formulaic recitation of the elements of a cause of action.” Bell
  Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
  (explaining that the Rule 8(a)(2) pleading standard “demands more than an unadorned, the
  defendant-unlawfully-harmed-me accusation”). Nor can a complaint rest on “‘naked
  assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly,
  550 U.S. at 557 (alteration in original)). The Supreme Court has emphasized that “[t]o survive a
  motion to dismiss a complaint must contain sufficient factual matter, accepted as true, to ‘state a
  claim to relief that is plausible on its face.’” Id. (quoting Twombly, 550 U.S. at 570); see also
  Am. Dental Assoc. v. Cigna Corp., 605 F.3d 1283, 1288-90 (11th Cir. 2010); Sinaltrainal v.
  Coca-Cola Co., 578 F.3d 1252, 1260 (11th Cir. 2009) (“A complaint may be dismissed if the
  facts as pled do not state a claim for relief that is plausible on its face.”).
          “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed
  factual allegations, a plaintiff’s obligation to provide the grounds of his entitlement to relief
  requires more than labels and conclusions, and a formulaic recitation of the elements of a cause
  of action will not do.” Twombly, 550 U.S. at 555 (citations and quotations omitted); Iqbal, 556
  U.S. at 678 (“[t]hreadbare recitals of the elements of a cause of action, supported by mere
  conclusory statements, do not suffice”) (citation omitted). “Factual allegations must be enough
  to raise a right to relief above the speculative level, on the assumption that all the allegations in
  the complaint are true (even if doubtful in fact).” Twombly, 550 U.S. at 555 (citations and
  quotations omitted). When considering a motion to dismiss, a court is “not bound to accept as
  true a legal conclusion couched as a factual allegation.” Iqbal, 556 U.S. at 678.
          B.       Counts I and II should be dismissed because vicarious liability is not
                   encompassed under 47 U.S.C. §227(b)(1)(A).

          Under 27 U.S.C. §227(b)(1)(A), which forms the basis for Counts I and II, the TCPA
  provides that it is unlawful for an entity “to make any call (other than a call made for emergency
  purposes or made with the prior express consent of the called party) using any automatic
  telephone dialing system or an artificial or prerecorded voice.” (emphasis added). On the other
  hand, 27 U.S.C. §227(c)(5), which forms the basis for Count III, expressly provides that private
  actions may be commenced for violation of subsection (c) where the calls was made “by or on
  behalf of the same entity.” (emphasis added).

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          In Abramson v. 1 Glob. Capital, LLC, No. 15-CV-61373, 2015 WL 12564318, at *2
  (S.D. Fla. Sept. 23, 2015) (Bloom, J.), this Court observed that “[s]ome courts have found that
  this distinction in statutory language evinces Congress’ clear intent to allow for vicarious
  liability under § 227(c) but not under § 227(b).” Id. (citing Mais v. Gulf Coast Collection
  Bureau, Inc., 944 F. Supp. 2d 1226, 124-43 (S.D. Fla. 2013) (Scola, J.), rev'd in part, 768 F.3d
  1110 (11th Cir. 2014) (citing Mey v. Pinnacle Sec., LLC, No. 5:11CV47, 2012 WL 4009718, at
  *3-4 (N.D. W. Va. Sept. 12, 2012); Thomas v. Taco Bell Corp., 879 F. Supp. 2d 1079, 1084
  (C.D. Cal. 2012))); Zelaya v. Newport Mktg., LLC, No. 13-61139-CIV, 2014 WL 11696701, at
  *3 (S.D. Fla. Feb. 25, 2014) (“there is no vicarious liability under [§ 227(b)(1)(A)(iii)] of the
  TCPA”) (Scola, J.).
          To the extent, then, that Plaintiff seeks to impose liability on Defendant for actions taken
  by third parties “on its behalf,” no such vicarious liability theory is cognizable as a matter of law
  under section 227(b)(1)(A) of the TCPA in accordance with the above-referenced authorities
  cited in Abramson. Furthermore, not only is vicarious liability not available as a matter of law
  under Counts I and II, but, in accordance with the Declaration of Joshua Ong and the discussion
  supra Part III, Defendant is the wrong party, i.e., it did not sent the alleged texts. Counts I and II
  should therefore be dismissed under Rule 12(b)(6).
          C.       Counts I, II and II are subject to dismissal in any event because Plaintiff’s
                   allegations are insufficient to allege Defendant’s vicarious liability.

          In Abramson, this Court chose not to decide the issue of whether an entity could be
  vicariously liable under TCPA section 227(b)(1)(A) because “Plaintiff fail[ed] to press the point,
  instead merely stating, without legal support, that third parties are regularly utilized by
  telemarketers.” 2015 WL 12564318 at *3. This Court further stated as follows:
       [A]ny allegations of vicarious liability are conclusory in nature. Such allegations are
       referenced in a single paragraph, in a single line of Plaintiff's Complaint. If Plaintiff
       wishes to impose vicarious liability on Defendant for the actions of another, he must
       make it clear that he intends to do so, cite appropriate statutory provisions, and set forth
       relevant facts indicating that vicarious liability is proper. See [Shamblin v. Obama for
       Am., No. 8:13-CV-2428-T-33TBM, 2015 WL 1754628, at *5-6 (M.D. Fla. Apr. 17,
       2015)] (setting forth methods of demonstrating vicarious liability). Accordingly, any
       allegations concerning vicarious liability for Defendant's TCPA violation must be
       dismissed.

  Id; see also Mesa v. Am. Express Educ. Assurance Co., No. 16-CV-24447, 2017 WL 2210271, at

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  *3 (S.D. Fla. May 18, 2017) (Huck, J.) (dismissing TCPA clam against defendants allegedly
  “legally responsible for telephone calls” made to plaintiff, because plaintiff had “not even
  attempted to allege the elements of the agency relationship” which was “required at the pleading
  stage of his case to raise a right to relief beyond mere speculation”).
           Similarly, here, there are only five (5) allegations sounding in vicarious liability
  contained in the Complaint, and all of them are “conclusory in nature.” 9 Moreover, Defendant
  has proffered testimony under oath establishing that it did not participate in any of the conduct
  alleged in the Complaint. (See Ong Decl. (Exh. 2), D.E. 18-2 at ¶10). As this Court previously
  held in Abramson, if Plaintiff nonetheless wishes to impose vicarious liability on Defendant for
  the actions of unnamed third parties, “he must make clear that he intends to do, cite appropriate
  statutory provisions, and set forth relevant facts indicating that vicarious liability is proper.”
  2015 WL 12564318 at *3 (citing Shamblin, 2015 WL 1754628, at *5-6). Plaintiff makes no
  substantive allegations that could support vicarious liability on the part of Defendant. Plaintiff
  does not name or provide identifying information regarding the alleged “third parties” that it
  claims acted “on behalf of Defendant,” describe their relationships with Cheetah Mobile
  America, Inc., or explain why Cheetah Mobile America, Inc. should be held vicariously liable
  for their actions. In as much as the Plaintiff’s vicarious liability allegations are deficient under
  Abramson, and Plaintiff has not met his pleading obligations under Twombly and Iqbal, Counts I,
  II and III are subject to dismissal in accordance with Rules 8(a)(2) and 12(b)(6). 10




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            (See Compl. at ¶27 (“Defendant caused other text messages to be sent to individuals residing within this
  judicial district.”) (emphasis added); ¶37 (defining putative class as “[a]ll persons within the United States who,
  within the four years prior to the filing of this Complaint, were sent a text message, from Defendant or anyone on
  Defendant’s behalf, to said person’s cellular telephone number, advertising Defendant’s services, without the
  recipients’ prior express written consent”) (emphasis added); ¶50 (“Defendant – or third parties directed by
  Defendant – used equipment having the capacity to dial numbers without human intervention to make non-
  emergency telephone calls to the cellular telephones of Plaintiff and the other members” of the putative class)
  (emphasis added); ¶65 (“Defendant … initiat[ed], or caus[ed] to be initiated, telephone solicitations to telephone
  subscribers such as Plaintiff and the Do Not Call Registry Class members who registered their respective telephone
  numbers on the National Do Not Call Registry, a listing of persons who do not wish to receive telephone
  solicitations that is maintained by the federal government.”) (emphasis added); ¶66 (“Defendant violated 47 U.S.C.
  § 227(c)(5) because Plaintiff and the Do Not Call Registry Class received more than one telephone call in a 12-
  month period made by or on behalf of Defendant in violation of 47 C.F.R. § 64.1200.”) (emphasis added)).
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           As discussed supra Part IV.B., Counts I and II brought under TCPA section 227(b)(1)(A) are also subject
  to dismissal because that subsection’s statutory language does not impose vicarious liability for violations thereof.

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          D.       Plaintiff’s scarce assertions with regard to the amount, frequency and timeframe
                   of text messages are insufficient to satisfy federal pleading requirements.

          The amount, frequency and timeframe of the alleged text messages are not sufficiently
  specified in the Complaint. The Complaint includes only one date (August 11, 2017) when one
  text message string was purportedly sent to Plaintiff (Compl. ¶23), without confirming whether
  more than one text was sent on that date or other date(s) or timeframes to Plaintiff or others.
  Consequently, Counts I-III should be dismissed in accordance with Rules 8(a)(2) and 12(b)(6)
  for failing to provide proper notice to the Defendant as to the claims asserted against it and
  failing to state a claim upon which relief may be granted. 11
          E.       Count III should be dismissed for failure to allege receipt of more than one
                   telephone call within any 12-month period.

          Finally, to state a claim under section 227(c)(5) of the TCPA, a plaintiff must allege
  (1) receipt of more than one telephone call within any 12-month period (2) by or on behalf of the
  same entity (3) in violation of the regulations promulgated by the FCC. 47 U.S.C. § 227(c)(5).
  Rosso fails to state a claim under section 227(c)(5) since he allegedly received only one text
  message string. (Compl. ¶23). This single text message string allegation, combined with
  Plaintiff’s unsupported allegations as to vicarious liability discussed supra Part IV.C., are
  insufficient to state a claim under section 227(c)(5). Thus, Plaintiff’s section 227(c)(5) claim in
  Count III should be dismissed.
   V.     Alternatively to Dismissal, Plaintiff Should Be Required to Provide a More Definite
          Statement.

          Should this Court not grant Defendants’ Motion to Dismiss, Defendants request that, in
  the alternative, given the extreme ambiguity of the Complaint, Plaintiff be ordered to provide a
  more definite statement pursuant to Fed. R. Civ. P. 12(e) as Defendants cannot reasonably
  prepare an answer as it now stands. See, e.g., Boldstar Technical, LLC v. The Home Depot, Inc.,
  517 F. Supp. 2d 1283, 1291 (S.D. Fla. 2007) (Hurley, J.) (the “purpose of the Rule is ‘to strike at
  unintelligibility’”); see also Gombos v. Cent. Mortg. Co., No. 10-81296-CIV-
  MARRA/JOHNSON, 2011 U.S. Dist. LEXIS 21413, at *5 (S.D. Fla. Mar. 3, 2011) (Marra, J.)

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             In Herrera v. Bank of America, N.A., Case No. 15-cv-62156-BLOOM/Valle, slip op. at D.E. 30, p. 7 (S.D.
  Fla. Dec. 29, 2015), attached hereto as Exhibit 4, this Court granted a motion to dismiss a TCPA claim because the
  TCPA claim “fails to provide proper notice to the Defendants as to what claims are asserted against them” in that
  “[i]t is unclear as to which conduct—including the amount and frequency of the calls, when the calls were placed,
  and by whom they were placed—is attributable to each Defendant in the Count.” Exh. 4 at 7.
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  (“a pleading is insufficient if a defendant does not know the basic facts that constitute the claim
  for relief against it. Such detail should not be left to discovery, for the purpose of discovery is to
  find out additional facts about a well-pleaded claim, not to find out whether such a claim
  exists.”) (internal citations omitted); Yates v. Checkers Drive-In Rests., Inc., No. 17-CV-9219,
  2018 WL 3108889, at *2 (N.D. Ill. June 25, 2018) (“the Court orders that Yates amend her
  complaint to provide a more definite statement as to the approximate date, time, and content of
  each text message that she contends violated the TCPA”).
                                            CONCLUSION
          The illusory “invasion of privacy” allegedly suffered by Plaintiff as a result of receiving
  one text message string from Defendant advertising a security program application does not give
  him standing under Article III of the United States Constitution to pursue any alleged violation
  of the TCPA. As a matter of law, even if it is true that he received the advertisement alleged in
  the Complaint by way of a text message, the single text message did not inflict a legally
  cognizable concrete injury-in-fact upon Plaintiff sufficient to cause him actual harm and permit
  him to seek statutory damages. Accordingly, this action should be dismissed with prejudice
  pursuant to Fed. R. Civ. P. 12(b)(1) for lack of subject matter jurisdiction. If the Complaint is
  not dismissed on standing grounds, Defendant should be dismissed with prejudice for lack of
  personal jurisdiction under Fed. R. Civ. P. 12(b)(2), or under Fed. R. Civ. P. 12(b)(6) because
  Plaintiff has sued the wrong entity and fails to state a claim under the TCPA. In the alternative
  to dismissal (or summary judgment should this Court elect to treat this Motion as a summary
  judgment motion as permitted by Fed. R. Civ. P. 12(d)), Plaintiff should be ordered to provide a
  more definite statement of his claims.
          WHEREFORE, Defendant Cheetah Mobile America, Inc. respectfully requests that the
  Court dismiss this action with prejudice or treat this Motion as a Motion for Summary Judgment
  and enter judgment in Defendant’s favor and against Plaintiff, or alternatively order Plaintiff to
  provide a more definite statement in the Complaint, award Defendant its costs, and grant such
  other relief as may be deemed just and proper.




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                                    REQUEST FOR HEARING
          Pursuant to Local Rule 7.1(b)(2), Defendant requests oral argument on this Motion.
  Defendant believes that, given the case-dispositive nature of the Motion and the extent of the
  issues raised and the authorities cited, it would be helpful to the Court to permit a focused oral
  presentation. Defendants estimate that 40 to 60 minutes total is sufficient for both sides’
  argument.


          Dated: September 19, 2018             Respectfully submitted,

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                                                Cristina B. Rodriguez (Fla. Bar No. 639982)
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on September 19, 2018, I electronically filed the foregoing with the
  Clerk of the Court by using the CM/ECF system. I further certify that the foregoing is being
  served this day on all counsel of record identified on the Service List below in the matter
  specified, either via of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive electronically
  Notices of Electronic Filing.
                                          SERVICE LIST

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